Case 5:23-cv-03010-JWL-JPO Documenti1 Filed 01/17/23 Page1of3

 

 

 

 

IN THE LIMITED (AAA IDisieicl Ce
JAN, 17 2623

\ Ucar saan LIRRUT I, ci Ibi com LZ LZ LZOMER
‘Wk Wee wher of. pasly- Jip, Quntec Je
her Lf MIKE. LAREN [Nh eihibea, bZof }
Cae LL ie Former LL, ae oJ Paes
Obeilas Ser ler _ Former: bribe of 2 record
OSM: Saeed i Bofes. ez: Ui Lanlson
Leprety ee: Te
‘Lapuct Lists ct At henep Low Le
Lepufy ‘fx s Je At CD legel Nek. Vows.
a 4 ; Arteyy vaeaial Merk. Shall

iy Verribe /, GQULA belly, LIFENOML

  
  
 

UUIEC Lb OMLM EA

ae

 

?

Lotro ih Digi) Lael AS Uwe aA

LK]

he Solo Pt <TPO_

Ag tel —

 

£933, JV Farmiga LaUuens.

 

(comes Noul hs Liscae Lawl LIRCUTIA Gnd IV pve

his Lituahe JA PROSE, faedefn db She Couch for. ifs
Volbuls:

Bnd Shonk fo She C aiee fa Suga / TWEKELE as
lb ihe Lf the Cave of fhe” Fh ae Lal ps
eed, ae fuer scle ye Jack. Sub s$ov eal CZ Volats
Ty ly Cons Bi J J 7, rink ds aft- She 4 FOKEMENTLOL
er. DEFENSANTS; AZo fe oe ah austeal tty
Ly foraro OQ] GtIEVANCLe, dnc b hie. Qa. az
XN L/SO CVCL, aft hlere Oblark i a Slang

  
 

of Dba Use. a hlis_L oD ot. Lhe Joa g Dd La
So S

iS orale

A fre -
US
a
Zi
LE. VCMES

Zz
honas

ST ae ( Dy i
So

 

 
Case 5:23-cv-03010-JWL-JPO Documenti Filed 01/17/23 Page 2of3

 

shh: L€., Kige; Sexual fssauft-Terfure; Def fer
LYfanaafon “ah ads Tbarcatieid neg Mate Cr}
Lda ; Vbvassonenf; Wek Ca i Neal: GOAL. Ke. 2» A Bh
me titkfion,; Lackethd: Pbvila pa AMP Zimae
hus fo flaiie Q fess CO
id eel a Supgext, Vy clainas 5 Dele po sed Motul!
auido, LU, ize Aes Aan of Phase TL ie aS
Van be. presen fd furfhac ae the fH QCESS, off
/(eege Siva, yaw they Beaded a a C we. ODE.
Ly, oe Lia Sinsaicf i “ft Aine Surl
pefage dad Sofie Lich, Cena fotagl, SLAM te
—Miapichenf. respec CZ Lifalinary Lae
doe de ait abled Llader ye Ce for A yf A Spite Titel
i Cae SeeKing es Se M2. M7 = we NM VUULIEL ds
C OLY EASE. Ly Lia Gad, Min 5 Ie Ze As ble.
it. LralyZ, Koo Laur f Mebcubish Uses 1 fe Lire;

‘ Cloveraf ula
7

yf Stop
oS

ft:
Divi
fa

WEY.

COA;

Vik hems

Ye Td |
Lit ofoers|
the Lube |
LS ¢ We |
ey hia,
Lheui

Ys Lief,

ia YUMAGES,

, Spare og
Lon aA Lx

Y

 

[bar Deal Moje,

 

 

Wa fl (At >
['3[2025

 

 

 

 

 

 

 
Case 5:23-cv-03010-JWL-JPO Documen

OLETLICATE (F tKMILE

 

 

 

 

 

 

CC OMVES No Al. i (bscar Liowid L ie vial Fad.
Carb ly. Soa, do, LA true. Arc Beagle COLY obs LhaT

 

Uy gilon Le ode plas Lod bi A? Lhe ie ork

Vela AL She Diff Couch
n prs J Spe Lay PMs 2028.

 

or Lowi [ecugb

 

% Fpney. Cow, YU. hil
S04f "GH Asteet

(avclen. CL ee oe
SW ISMe

 

tf >)

 

L]
LL. ee

if (2. 2023

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
